4:24-cv-03177-SMB-MDN Doc # 64-10
Short Message Report

Conversations: 1
Total Messages: 11

Outline of Conversations

CJ +18017916962 = 11 messages on 10/2/2024

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Participants: 2
Date Range: 10/2/2024

<4026415432> « Tommy McGee <8017916962>

Daws0001570

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Messages in chronological order (times are shown in GMT +00:00)

CJ +18017916962

TM Tommy McGee <8017916962> & 10/2/2024, 12:56 PM
Jim
Is it true that I’m now driving for Richard Daniels

Receipts « <4026415432> [R:10/2/2024, 12:58 PM]

>o <4026415432> 4 10/2/2024, 12:59 PM
| don’t Know the answer to that. That truck belongs to Ricks corp.

Receipts = Tommy Mc > [D: 40/2/2024, 12:59 PM)
>>Th\ Tommy McGee <8017916962> > 10/2/2024, 1:01 PM
K
Receipts » <4026415432> [R:10/2/2024, 1:02 PM]
>>> Tommy McGee <8017916962> & 10/2/2024, 1:02 PM
TM | don’t want to leave
Receipts « <4026415432> [R:10/2/2024, 1:03 PM]
>>>>t <4026415432> @ 10/2/2024, 1:03 PM

Try to load and keep making money while we work this out

Receipts « Tommy Mc 12> (D:40/2/2024, 1:03 PM)
>>>>> Tommy McGee <8017916962> & 10/2/2024, 1:04 PM
™ Okay
Receipts » <4026415432> [R: 10/2/2024, 1:04 PM}
>>>>> <4026415432> @ 10/2/2024, 1:05 PM
oF Keep notes or tape every conversation for me please
Receipts « Tormmy McGee <8017916962> [D:10/2/2024, 1:05 PM)
>>>>> Tommy McGee <8017916962> & 10/2/2024, 1:05 PM
>> TM Okay
Receipts « <4026415432> [R:10/2/2024, 1:05 PM]
>>>>> Tommy McGee <8017916962> & 10/2/2024, 4:27 PM
>>>
™
File "e50bf860-9019-4c57-bf49-57fea4e96851.heic” is missing.
Attachment: ~_Library_SMS_Attachments_b7_07_AC36F2EB-7ABA-4698-BB5C-FF2C0D037369_IMG_6806.heic (66
KB)
Receipts « <4026415432> [R: 10/2/2024, 4:30 PM}
>>>>> Tommy McGee <8017916962> & 10/2/2024, 4:27 PM

>>>> IMG_6806.heic

™ https://p48-
content.icloud.com/MY C653A4AB24E6739ED12D1C10E7D92D0DF34A63F 796D8EB899986DA7B641AB3B86.21F788C
E698EE1A9.CO1USNOO0

Daws000157'1

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Receipts Y; é 10/2/2024, 4:30 PM

>>>>> Tommy McGee <8017916962> m 10/2/2024, 4:27 PM
>>>> Load
T™

Receipts LO: 43 2: 10/2/2024, 4:30 PM

Daws0001572

